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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_________________________________
UNITED STATES OF AMERICA,         )
                                  )
                                  )
     v.                           )    Criminal No. 22-mj-6269-MPK
                                  )
                                  )
JOSEPH A. PADILLA,                )
     Defendant                    )
_________________________________ )


                                 Assented-To Motion for
                       Temporary Modification of Conditions of Release

       Now comes the Defendant, Joseph Padilla, by and through undersigned counsel, and

hereby moves the Court for an order temporarily modifying his conditions of release to permit

him to leave his residence to have surgery on Tuesday, October 4, 2022, and to permit the

removal of his electronic monitoring bracelet for surgical purposes.

       As grounds and reasons therefore, the Defendant states the following:

       1.    On September 9, 2022, the Court allowed Mr. Padilla’s continued release on the

conditions entered in the Southern District of California, which include participation in the

Location Monitoring Program and home detention. Dkt. Entry dated September 9, 2022; see

also United States v. Padilla, United States District Court for Southern District of California,

Docket No. 22-mj-03090-MSB, Dkt. Entry 8.

       2.    Mr. Padilla is scheduled to undergo surgery on Tuesday, October 4, 2022, at UCSD

Surgical Center of San Diego. Mr. Padilla has been instructed to report to the admitting desk at

7:15 a.m., located at 4910 Directors Place, Suite 100, San Diego, CA 92121.

       3.    Medical staff has likewise advised that his electronic monitoring bracelet should be

removed prior to surgery “for surgical safety reasons.”



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       4.     Mr. Padilla will of course provide any and all details of his surgery requested by

U.S. Probation.

      WHEREFORE, the defendant respectfully requests an order temporarily modifying his

conditions of release to permit him to leave his residence to have surgery on Tuesday, October 4,

2022, and to permit the removal of his electronic monitoring bracelet for surgical purposes.

                                Local Rule 7.1(a)(2) Certification

      The parties have conferred and the government, by and through Assistant U.S. Attorney

James R. Drabick, assents to the instant motion provided he can confirm details with the U.S.

Probation Officer supervising locally in California.




                                              Respectfully Submitted,
                                              The Defendant,
                                              Joseph A. Padilla,
                                              By His Attorney,

                                              /s/ Robert M. Goldstein
                                              Robert M. Goldstein, Esq.
                                              Mass. Bar No. 630584
                                              20 Park Plaza, Suite 1000
                                              Boston, MA 02116
                                              (617) 742-9015
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Dated: September 30, 2022




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                                     Certificate of Service

   I, Robert M. Goldstein, hereby certify that on this date, September 30, 2022, a copy of the
foregoing document has been served via the Electronic Court Filing system on all registered
participants, including Assistant U.S. Attorney James R. Drabick.


                                             /s/ Robert M. Goldstein
                                             Robert M. Goldstein




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